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                        Exhibit A
                to Supplemental Declaration of Matthew Hooker
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                                           ASSIGNMENT

        OptumRx, Inc.’s counsel asked Ms. Montgomery and Ms. Muchman to prepare a

supplemental report on the application of Rule 1.11(c) to the proceedings against OptumRx in the

Opioid MDL and to address certain of Motley Rice’s arguments in its opposition to OptumRx’s

motion to disqualify.1

                           ADDITIONAL MATERIALS REVIEWED

        We reviewed the Plaintiffs’ response to OptumRx’s Motion to disqualify and additional

research as cited in this supplemental opinion.


                         SUMMARY OF SUPPLEMENTAL OPINIONS

        We have reviewed Plaintiffs’ response to OptumRx’s Motion to Disqualify Motley Rice

and provide the following supplemental opinions. Contrary to Plaintiffs’ assertions, it is our

opinion that the Information and Documents at Issue are Confidential Government Information

because they were obtained using government authority, the information is not otherwise

available to the public, are subject to confidentiality agreements that Motley Rice signed as

government lawyers, and the government is either prohibited by law from disclosing the

information to the public or there is a legal privilege preventing the disclosure. It is also our

opinion that the Government Plaintiffs are private clients because they are represented by a

private law firm in a private capacity. Finally, it is our opinion that the signed Confidentiality

Agreements establish that the information could be used to the material disadvantage of

OptumRx because it was obtained only through the coercive power of the government and

contains sensitive corporate information not otherwise available to the public.



1 Ms. Montgomery and Ms. Muchman’s qualifications, prior publications, prior testimony, previous materials
reviewed, facts considered, and compensation are set out in their initial report. Dkt. No. 5276-18.


                                                    1
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                                      SUPPLEMENTAL OPINIONS

      I.      The Information and Documents at Issue are Confidential Government
              Information.

      As we explained in our original report,2 Rule 1.11(c) defines confidential government

information as “information obtained under government authority and which, at the time this Rule

is applied, the government is prohibited by law from disclosing to the public or has a legal privilege

not to disclose and which is not otherwise available to the public.”3 Broken down, the Rule has

three requirements: (1) the information acquired about the person was “obtained under government

authority;” (2) at the time the lawyer applies Rule 1.11 to the information, it is “not otherwise

available to the public;” and (3) either (a) “the government is prohibited by law from disclosing

[the information] to the public,” or (b) the government “has a legal privilege not to disclose the

information.”4 Here, all three requirements are met.

           The information that Motley Rice acquired about OptumRx was obtained under

government authority.5 They obtained information using the power of “a Special Assistant

Corporation Counsel,”6 with “the authority vested by the Attorney General of D.C.,” 7 and as a

Counsel for “State of Hawai’i Department of Attorney General.”8 The Rule applied to Motley Rice

at the time they undertook the private representation in the opioid litigation against OptumRx,


2 Dkt. No. 5276-18 at 2-3.
3
    OH ST RPC Rule 1.11(c) Cmt. 4.
4 Simon’s New York Rules of Prof. Conduct Annotated § 1.11:31, July 2023 Update, Roy D. Simon Jr.
5
  “Paragraphs (a)(2) and (c) of Rule 1.11 will usually overlap. A lawyer who participated personally and substantially
in a matter while in public service will nearly always have confidential government information, and will thus be
disqualified under this subparagraph as well as Rule 1.11(a)(2), but this subdivision [(c)] applies even if the lawyer
did no work at all on a matter and came across the confidential government information by chance, or over lunch, or
by overhearing a conversation involving other government lawyers, or through personal but non-substantial
participation in the matter, or in any other way.” Simon’s New York Rules of Prof. Conduct Annotated § 1.11:27, July
2023 Update, Roy D. Simon Jr.
6
  Dkt. No. 5276-18 at 8.
7
  Id. at 10.
8
  Id. at 11-12.


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because the firm had an obligation to ensure that it complied with the Rule’s requirements before

taking on the representations.9 Finally, under the Confidentiality Agreements, Motley Rice

lawyers—as government lawyers—are either (a) prohibited by law from disclosing the

information to the public, or (b) bound by a legal privilege not to disclose the information.

        Plaintiffs’ argument about what is “confidential information obtainable only through

government service” misapprehends the meaning and purpose of Rule 1.11(c). The rule does not

require “confidential government information” to be unavailable from any other source. It requires

only that the information is not “otherwise available to the public,” and either (a) “the government

is prohibited by law from disclosing [the information] to the public,” or (b) the government “has

a legal privilege not to disclose the information.” The information that Motley Rice demanded and

received through its government investigations of OptumRx qualifies as “confidential government

information” under that definition.

        Plaintiffs’ reliance on Davis v. Southern Bell, 149 F.R.D. 666 (S.D. Fla. 1993) is misplaced.

As a threshold matter, that decision was based on Rule 1.11(b) (then titled Successive Government

and Private Employment), which is not the rule at issue here and which was superseded in 2006. 10

In Davis, the Court declined to disqualify the lawyer because the representation was not successive

but joint, with the lawyer representing a private party and the government in parallel proceedings.

The Court found that the information was produced “pursuant to routine discovery.” What is

routine discovery is a question of fact and the facts of that case are distinguishable. Importantly,




9
  By analogy, Rule OH ST RPC 1.11 requires screening “as soon as practicable after the need for screening becomes
apparent.” OH ST RPC Rule 1.11, cmt 7.
10
   The case cites a now superseded version of Rule 1.11, but the definition of confidential government information,
which moved from former subdivision (e) to subdivision (c), remains the same. In addition, in 2006, along with other
amendments, the title of the Rule was changed to Special Conflicts of Interest for Former and Current Government
Officers and Employees, a change intended to reflect the content of the rule more accurately. See, 2006 Changes to
the Florida Rules of Professional Conduct, 31 Nova L.R. 1, 14, Heather Perry Baxter (Fall 2006).


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in Davis, there was no indication that the confidential government information at issue was subject

to signed confidentiality agreements. Thus, the case is inapplicable.

          Here, unlike in Davis, the evidence shows that Motley Rice, acting as government lawyers,

signed confidentiality agreements before OptumRx produced the materials to the government and

agreed “not to use the Confidential Information in connection with any other matter, and not to

disclose any Confidential Information to any party or the public, except as provided by this

Agreement.”11 The confidentiality agreements that Motley Rice signed as government attorneys

as a condition of OptumRx’s production in the multiple government investigations make it clear,

as required under Rule 1.11(c), that in this case the government is “legally prohibited from

disclosing the information to the public, or has a legal privilege not to disclose and which is not

otherwise available to the public.”12 Thus, the information produced by OptumRx in response to

the governments’ subpoenas is, by definition, confidential government information.

    II.      The Government Plaintiffs are “Private Clients” Under Rule 1.11(c) Because Here
             the Government Plaintiffs are Represented by Motley Rice, a Private Law Firm.

          Model Rule 1.11(c) applies when a lawyer represents a “private client” and has

“information that the lawyer knows is confidential government information about a person

acquired when the lawyer was a public officer or employee.”

          Plaintiffs argue that OptumRx’s motion must fail because OptumRx cannot satisfy the

“dual requirements” that Motley Rice was a public officer and employee and that the Government

Plaintiffs are “private clients.” Plaintiffs’ statement that, “because the Plaintiffs are all government

entities, they are not ‘private clients’” 13 misapprehends the Rule’s requirements as well as the

meaning of the term “private client” as used in the Rule.


11 See, e.g., D.C. Confidentiality Agreement. Dkt No. 5276-18.
12 OH ST RPC Rule 1.11(c).

13 Opp. at 14.



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         Quoting from our first report, Plaintiffs argue that the Rule does not apply to them because,

“although Singer and Motley Rice represent public entities in their private practice, they are not

government actors in that capacity, nor do they have the authority to wield the power of the

government in that role.”14 Plaintiffs do not understand the requirements of Rule 1.11(c). When

Motley Rice issued subpoenas in each of the government investigations, they did so wielding the

government’s coercive power. They collected information with the power of “a Special Assistant

Corporation Counsel,”15 with “the authority vested by the Attorney General of D.C.,”16 and as a

Counsel for “State of Hawai’i Department of Attorney General.”17 They are now in a position to

use that information which is still protected by the Confidentiality Agreements they signed as

government lawyers, against OptumRx in their roles as private lawyers for other clients.

         While representing governments in their private practice, Motley Rice is not acting as a

government lawyer. That is the point.18 Motley Rice gathered information brandishing the

government’s authority. The Rule applies precisely because Motley Rice gathered information

exercising the power of a government lawyer and are now abusing that power by using that

information to benefit other government entities who are private clients of its private law firm.

         The word “private” in the term “private client” refers to the nature of the lawyer’s practice,

not the identity of the lawyer’s client. “Private client,” as used in Rule 1.11(c), means any client,

including a government entity, whom the lawyer represents while practicing law at an entity other


14 Dkt No. 5276-18 at 21, fn. 20.
15
   Dkt. No. 5276-18 at 8.
16
   Id. at 10.
17
   Id. at 11-12.
18
    Plaintiffs’ lack of understanding of Rule 1.11(c)’s operation is clear. They characterize as “an admission” by
defendants our statement that, “[a]lthough Singer and Motley Rice represent public entities in their private practice
they are not government lawyers in that capacity nor do they have the authority to wield the power of government in
that role.” Yes. That is the point. Motley Rice now represents the government as private lawyers. They brandished
government authority as government lawyers to issue government subpoenas to get information. And they cannot now
benefit their private law practice or its clients, whether public or private entities, by using the information they
obtained using that authority.


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than the government, such as a law firm. 19 “The purpose of the rule is to prohibit lawyers from

transforming government knowledge into private benefit. . .”20 The history of and policy reasons

for the Rule, as well as precedent, clearly establish that any other interpretation of the term “private

client” subverts the Rule’s purpose, which is to avoid allowing lawyers to obtain information from

a person under government authority and then to exploit that authority by using the information

against the person to benefit the lawyer and the clients of the lawyer’s private law practice, whether

or not those clients are public or private entities.

        The history and development of the Rule clearly establish this concept. ABA Formal

Opinion 342 (1975) explains that the term “private employment” in the text of ABA Model Code

of Professional Responsibility Disciplinary Rule 9-101(B), the predecessor to Model Rule

1.11(a)’s disqualification provision, “refers to employment as a private practitioner.” 21 “If one

underlying consideration is to avoid the situation where government lawyers may be tempted to

handle assignments so as to encourage their own future employment in regard to those matters, the

danger is that a lawyer may attempt to derive undue financial benefit from fees in connection with

subsequent employment, and not that he may change from one salaried government position to

another.”22 That is exactly what is happening here. Motley Rice, in its capacity as a private-practice

law firm, is attempting to derive substantial financial benefit for itself and its private clients, from




19
    “Even if the lawyer represents the government agency on a contingent fee arrangement, like the private lawyers
who represented various state and local governments in suing tobacco companies or gun manufacturers, the lawyer
remains in private practice while representing various private clients, including one or more governments or
governmental agencies.” Rotunda, Ronald, Legal Ethics: The Lawyer's Deskbook on Professional Responsibility,
American Bar Association Center for Professional Responsibility, p. 593 (2023-2024).
20
    Simon’s New York Rules of Prof. Conduct Annotated § 1.11:28, July 2023 Update, Roy D. Simon Jr.
21
   See, ABA Comm. on Ethics & Prof’l Responsibility, Formal Op. 342 (Nov. 24, 1975) issued to interpret DR 9-
101(B) after the Model Code was amended to incorporate imputed disqualification. DR 9-101(B) read: “[a] lawyer
shall not accept private employment in a matter in which he had substantial responsibility while he was a public
employee.”
22
    Id. at 2.


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its work as an appointed government lawyer in a matter where it could use the information it

previously acquired in its capacity as a government officer to advance the private litigation.

        Courts have held that lawyers may not transition from government service to private

practice at a law firm and then represent a government entity while practicing at the law firm. In

General Motors Corp. v. City of New York, 501 F.2d 639 (2d Cir. 1974), discussed in our original

opinion, the New York Appellate Court disqualified a former United States Department of Justice

lawyer from representing the City of New York when he transitioned from government service to

private practice in a law firm. The lawyer, while employed at the Justice Department’s Antitrust

Division, had substantial responsibility for an antitrust suit against General Motors.23 The Court,

interpreting New York’s Code of Professional Responsibility and Canon 9, found that the lawyer

was engaged in “private employment” for purposes of DR 9-101(B) because the lawyer was

practicing in a private firm even though the client was a government entity. 24 This interpretation is

consistent with the intention of the existing Rule, and clarifies that a government entity is, in fact,

a “private client” when represented by a private law firm that is not acting under the authority of

the government.

        Plaintiffs’ citation to Doe 1 v. Francis, 2006 WL 8444030, at *10 for the proposition that

an attorney in private practice who merely represents a government agency does not qualify as a

public officer, misapprehends the Rule’s meaning as well as the facts of their own work for

government entities. Because the Rule applies to current and former representations, contrary to

Plaintiffs’ circular argument, the question is not whether Motley Rice is still a public

officer/government employee with regard to the current representation of governmental entities. It

does not make a difference if Motley Rice’s work for the government is ongoing or completed.


23 501 F.2d 639, 642.
24 501 F.2d 639, 644.




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            The reality is that Motley Rice is now acting through its private law firm to represent a

government entity as its client bringing a private lawsuit. The fact that its private client is a

government entity does not change the lawyer’s duties under the Rule. Plaintiffs’ argument that

they have destroyed some of the confidential government information they received as government

lawyers is not the test. As Courts have held, even a lack of memory does not insulate a lawyer from

the reach of 1.11(c) and does not undo the lawyer’s actual knowledge.25

     III.      The Signed Confidentiality Agreements and DR-22 and Its Amendments Establish
               that the Information Requested Could Be Used to the Material Disadvantage of
               OptumRx.

            Plaintiffs’ argument that DR-22 requires Defendants to produce documents previously

produced pursuant to government subpoena is inaccurate. Although we believe DR-22 does not

apply, regardless, confidential government information produced under DR-22 does not lose its

status as confidential—that information can be designated as such under the protective orders that

govern the MDL. 26 Plaintiffs avoid any meaningful explanation of why the Confidentiality

Agreements that Motley Rice signed as government lawyers27 in all three investigations are not

still binding.

            As discussed in our original report, the definition of “confidential government information

is quite broad, including basically everything except information that is required to be disclosed

under the Freedom of Information Act.”28 Further, to the extent that Defendants are required to

produce certain confidential government information in response to discovery requests, that does




25
   Dkt. No. 5276-18 at 31, fn. 48 & 50; Kronenberg v. LaRouche 2010WL 1443934, *4.
26
   ECF No. 441.
27
   Dkt. No. 5276-18, 19.
28
   Op. at p. 25, fn. 36, Law of Lawyering, Hazard, Hodes, Jarvis and Thompson, §16.12 (Fourth Edition, 2021-1
Supp. 2014).


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not transform the confidential nature of the information, as documents produced in discovery are

not considered public information and would be covered by protective orders.29

         The Confidentiality Agreements protect the documents from use in “any other matter,”

prohibit disclosure “to any party or the public,” and provide that Motley Rice agreed “not to rely

on Confidential Material in pursuing information or claims in any other matters outside of its

representation of the OAG.”30 DR-22 allows for Defendants to raise objections to producing

documents, and establishes that the information at issue is neither routine discovery nor

information obtainable under the Freedom of Information Act. Because Plaintiffs’ theory that

OptumRx cannot prove that “the information could be used to [OptumRx’s] material

disadvantage,” ignores the Confidentiality Agreements, is premised on their false statement that

DR-22 requires OptumRx’s blanket production, and forgets that some of the documents produced

related only to non-opioid investigations and are not subject to DR-22, Plaintiffs’ argument that

Rule 1.11(c) does not apply is meritless.

         Because the potential for abuse of information gathered wielding the coercive power of

government authority is so grave, the threshold under Rule 1.11(c) is low and only requires that

the information could be used to OptumRx’s material disadvantage. 31 “The rule applies if the

information ‘could be’ used against the person even if the former government lawyer's private law

firm does not intend to use it or does not use it in fact. The potential for material harm to the person

is enough to trigger the rule.”32 Motley Rice cannot erase the insights they gained from obtaining


29
   “If the public cannot obtain the information, then it meets this element. If the public can obtain the information,
then it fails this element. Thus, information available on the Internet or in public archives or upon request at a
government agency does not satisfy this element and is not confidential government information.” Simon’s New
York Rules of Prof. Conduct Annotated § 1.11:30, July 2023 Update, Roy D. Simon Jr.
30
   See, e.g., Dkt. No. 5276-18 at 11, 26.
31
   Ohio R. Prof’l Conduct 1.11(c).
32
   Simon’s New York Rules of Prof. Conduct Annotated § 1.11:28, July 2023 Update, Roy D. Simon Jr.; See also, Op.
at p. 23, fn. 26 & 27; N.Y. State Op. 1169 (Opinion explains that lawyer who wished to run for Town Supervisor but
might acquire information through that position would be disqualified from representing a private client in a matter in


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the documents in their governmental positions which could allow the information to be used to

OptumRx’s material disadvantage. They cannot simply ignore the Confidentiality Agreements

they signed, which shielded the information OptumRx then agreed to produce pursuant to the

coercive mandate of government subpoenas. Given the information was produced only under those

protections, Plaintiffs’ allegations that the documents are subject to “blanket production,” and that

OptumRx could not be materially disadvantaged by their publication, is nonsensical. Given the

facts, it is our opinion that Motley Rice is violating Rule 1.11(c). We do not believe that this

is a close call.




                                                      _________________________________
                                                       Wendy J. Muchman


                                                      _________________________________
                                                       Sari Montgomery




Dated: Feb. 4, 2024


which the confidential information can be used to the material disadvantage of the person to whom the confidential
information pertains, even if the information was acquired by happenstance. The limitation applies only to confidential
government information and doesn't operate regarding information that “merely could be imputed to the lawyer.”);
N.Y.S. Bar Association Committee on Professional Ethics, Op. 1187, ¶ 8 (05/06/2020); (Lawyer was a Village police
officer and wished to represent defendants in traffic court. The opinion explained that when acting as a lawyer the
police officer must comply with Rule 1.11(c) so that if the inquirer knows of unfavorable employment reviews or non-
public job discipline imposed on a police officer who is a witness in a traffic court matter, if that information “could
be used to the material disadvantage” of that person in plea negotiations or impeachment, then the inquirer may not
represent a traffic court defendant in that matter.)


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